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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY


FRENKEL LAMBERT WEISS WEISMAN & GORDON, LLP
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File No.: 03-020503-B00
Douglas McDonough, Esq.
                                                                  Case No.: 19-25396-VFP
Attorney ID: DM0973
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Attorney for Bank of America, N.A., Secured Creditor
                                                                  Judge Vincent F. Papalia
In Re:

James X Rezabala and Erika M Penachi

                                   Debtor(s).


                                NOTICE OF APPEARANCE

Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an
appearance in this case on behalf of BANK OF AMERICA, N.A., a Secured Creditor, regarding
a lien on the real property located at 3365 Kennedy Blvd, Jersey City, NJ 07307.

Request is made that all notices entered pursuant to Fed. R. Bankr. P. 2002 and all documents
and pleadings of any nature filed in this case be served on the undersigned at the following
address:

              BANK OF AMERICA, N.A.
              c/o Frenkel Lambert Weiss Weisman & Gordon, LLP
              80 Main Street, Suite 460
              West Orange, NJ 07052

                                                       FRENKEL LAMBERT WEISS
                                                       WEISMAN & GORDON, LLP
                                                       Attorneys for Secured Creditor


Dated: June 1, 2022                                    /s/ Douglas McDonough
                                                       Douglas McDonough, Esq.
